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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

ABDULLAH RABBAT,
                                         CASE NO.: 6:17-cv-00278 –Orl-28KRS
        Plaintiff,
vs.

COVINGTON SPECIALTY INSURANCE
COMPANY,

           Defendant.
________________________________/

      DEFENDANT’S MOTION TO DISMISS (with amended Certificate of Service)

        Defendant, COVINGTON SPECIALTY INSURANCE COMPANY (“Covington”),

moves to dismiss the Complaint [Doc. 2] pursuant to Federal Rule of Civil Procedure

12(b)(6) by stating the following:

                                        Summary

        This case is a first party property insurance dispute. The Plaintiff, Covington’s

insured, filed suit alleging that Covington failed to pay insurance proceeds for “severe

damage [to the property] as a direct result of law enforcement activity.” Such damage is

excluded as Governmental Action, so Plaintiff failed to state a claim upon which relief

can be granted.

                                          Facts

        1.      Covington insured Plaintiff’s property located at 5151 South Orange

Blossom Trail, Orlando, Florida 32839 pursuant to policy number VBA231663. See

Complaint [Doc. 2], ¶2, 6.

        2.      On or about February 15, 2014, Plaintiff alleges its property “suffered

severe damage as a direct result of law enforcement activity, which caused significant
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structural and cosmetic damage throughout the Property (the “Loss”).” See Complaint

[Doc. 2], ¶8.

       3.       Plaintiff then submitted a claim to Covington for the property damage.

See Complaint [Doc. 2], ¶9.

       4.       Plaintiff attached a copy of the subject insurance contract as Exhibit A to

the Complaint.

       5.       The insurance contract covers all risks of direct physical loss unless the

loss is excluded or limited by the subject terms and conditions:

                               CAUSES OF LOSS – SPECIAL FORM

       A.       Covered Causes of Loss

                When Special is shown in the Declarations, Covered Causes of Loss
                means Risks of Direct Physical Loss unless the loss is:

                1.      Excluded in Section B., Exclusions; or

                2.      Limited in Section C., Limitations;

                that follow.

                                                ***

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       6.       The insurance contract contains an exclusion for Governmental Action.

The exclusion is preceded by anti-concurrent, anti-sequential policy language, so any

damage caused directly or indirectly by the order of governmental authority is excluded.

       B.       Exclusions

                1.      We will not pay for loss or damage caused directly or indirectly by
                        any of the following. Such loss or damage is excluded regardless
                        of any other cause or event that contributes concurrently or in any
                        sequence to the loss.

                                                 ***




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                     c.     Governmental Action

                     Seizure or destruction of property by order of governmental
                     authority.

                                           ***

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       7.     Covington asserts that damage caused by “law enforcement authority”

was caused by an order of governmental authority.              Such is excluded by the

unambiguous terms of the insurance contract.

                                  Memorandum of Law

A.     Motion to Dismiss Standard

       In evaluating a motion to dismiss for failure to state a claim, a court may consider

only the complaint, exhibits attached to the complaint, matters of public record, and

undisputedly authentic documents if the plaintiff’s claims are based upon those

documents. Pension Benefit Guar. Corp. v. White Consol. Indus., 998 F.2d 1192, 1196

(3d Cir. 1993). All allegations in the complaint must be taken as true and viewed in the

light most favorable to the plaintiff. Warth v. Seldin, 422 U.S. 490, 501 (1975); Trump

Hotels & Casino Resorts, Inc. v. Mirage Resorts, Inc., 140 F.3d 478, 483 (3d Cir. 1998).

This assumption of truth is inapplicable, however, to legal conclusions couched as

factual allegations or to “[t]hreadbare recitals of the elements of a cause of action,

supported by mere conclusory statements.” Ashcroft v. Iqbal, 129 S.Ct. 1937, 1949

(2009).

       Although a complaint need not contain detailed factual allegations, “a plaintiff’s

obligation to provide the ‘grounds’ of his ‘entitlement to relief’ requires more than labels

and conclusions, and a formulaic recitation of the elements of a cause of action will not



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do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). Thus, the factual allegations

must be sufficient to raise a plaintiff’s rights to relief above a speculative level, such that

it is “plausible on its face.” See id. at 570.

B.     Interpretation of Insurance Contracts

       Florida courts construe insurance contracts in accordance with “the plain language

of the polic[y] as bargained for by the parties.” See Auto–Owners Ins. Co. v. Anderson, 756

So.2d 29, 33 (Fla. 2000) (quoting Prudential Prop. & Cas. Ins. Co. v. Swindal, 622 So.2d

467, 470 (Fla.1993)) (alteration in original).       As one Florida court stated, “[i]nsurance

contracts must be read in light of the skill and experience of ordinary people, and be given

their everyday meaning as understood by the man on the street.” Keen v. Fla. Sheriffs'

Self–Insurance Fund, 962 So.2d 1021, 1023 (Fla. 4th DCA 2007) (quoting Mason v. Fla.

Sheriffs' Self–Insurance Fund, 699 So.2d 268, 270 (Fla. 5th DCA 1997)).

C.     Applicability of Governmental Action Exclusion to Damage Caused by
       “Law Enforcement Activity”

       Plaintiff alleges the subject damage resulted “as a direct result of law

enforcement activity.”    The subject insurance contract unambiguously excludes any

damage directly or indirectly related to the “seizure or destruction of property by order of

governmental authority.” The exclusion applies “regardless of any other cause or event

that contributes concurrently or in any sequence to the loss.” Anti-concurrent, anti-

sequential language is recognized and enforced by Florida courts. Paulucci v. Liberty

Mut. Fire Ins. Co., 190 F.Supp.2d 1312, 1319-1320 (M.D. Fla. 2002).

       In American Corporate Society v. Valley Forge Insurance Company, the U.S

District Court for the District of New Jersey dismissed the insured’s complaint for breach

of contract that alleged property damage by “police raid” after applying the same



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Governmental Action exclusionary language. 2010 WL 2950367, *3 (D. N.J. 7/22/10).

The Court found the following:

      1.     Count Two – Breach of Contract

      Accepting Plaintiffs’ allegations as to the police raid and the property
      damage inflicted therefrom as true, Count Two fails to state a claim for
      breach of contract. Defendants submitted a copy of the insurance policy
      with their motion to dismiss, and the Court may consider the policy when
      weighing the merits of the breach claim. After review of the policy, the
      language of the “Governmental Action” exclusion is clear and applicable to
      the instant facts. The exclusion states: “We will not pay for loss or
      damage caused directly or indirectly by any of the following…. Seizure or
      destruction of property by order of governmental authority. [Citation
      omitted.] Here, Plaintiff alleges in his Complaint that a "police raid” either
      directly caused damage to ACS’s office or indirectly caused damage,
      since the office was “physically left unsecured” after the raid. [Citation
      omitted.] Whether this damage was directly or indirectly caused by the
      police, it is excluded under the plain language of the policy. As such,
      Plaintiff fails to assert a facially plausible claim for breach of contract.

      Covington respectfully requests that this Court apply the same reasoning.

D.    No Insurance Coverage by Waiver or Estoppel

      Plaintiff’s Complaint avers claim payments by Covington. Such payments are

inconsequential as the doctrines of waiver and estoppel are “not applicable to matters of

Coverage.” In other words, the doctrine of waiver or estoppel cannot be used to create

or extend insurance coverage where none exists in the first instance. Six L's Packing

Co. v. Fla. Farm Bureau Mut. Ins. Co., 268 So.2d 560, 563 (Fla. 4th DCA 1972),

adopted, 276 So.2d 37 (Fla.1973) (court articulated well established general rule that

“the doctrine of waiver and estoppel based upon the conduct or action of the insurer (or

his agent) is not applicable to matters of Coverage”); see also Lloyds Underwriters at

London v. Keystone Equip. Fin. Corp., 25 So.3d 89 (Fla. 4th DCA 2009); Nationwide

Mut. Fire Ins. Co. v. Voigt, 971 So. 2d 239 (Fla. 2d DCA 2008); AIU Ins. Co. v. Block




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Marina Inv., Inc., 544 So.2d 998, 1000 (Fla.1989); Crown Life Ins. Co. v. McBride, 517

So.2d 660, 661 (Fla. 1987); Am. Motorists Ins. Co. v. Farrey's Wholesale Hardware Co.,

Inc., 507 So. 2d 642, 645-646 (Fla. 3d DCA 1987); Starlite Servs., Inc. v. Prudential Ins.

Co. of Am., 418 So. 2d 305, 306-07 (Fla. 5th DCA. 1982); Unijax, Inc. v. Factory Ins.

Ass'n, 328 So. 2d 448, 455 (Fla. 1st DCA 1976). As the Court explained in Keystone,

the rationale for this principle is that an insurer “should not be required by waiver (and

estoppel) to pay a loss for which it charged no premium.” Keystone, 25 So. 3d at 92

[citations omitted].

       WHEREFORE,        the   Defendant,   COVINGTON        SPECIALTY      INSURANCE

COMPANY, respectfully requests for this Court to dismiss the Complaint [Doc. 2] due to

Plaintiff’s failure to state claim upon which relief can be granted and all other relief

deemed equitable under the circumstances.

                                     Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on February 27, 2017, I presented the foregoing to the Clerk of

the Court for filing and uploading to the CM/ECF system. A copy of the foregoing was

mistakenly not furnished via Electronic Mail to:

              Yemil Aragon, Esq.
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This Motion [Doc. 7] is now being served by electronic notification generated by the

CM/ECF system with this Amended Certificate of Service on March 7, 2017, on all counsel

or parties of record on the Service List below.



                                         /s/ Christopher M. Ramey
                                         CHRISTOPHER M. RAMEY, ESQ.


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